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                IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

BERKELEY VENTURES II, LLC

             Plaintiff,
                                                 Civil Action File No.
v.                                               1:19-cv-05523-SDG

SIONIC MOBILE CORPORATION and
RONALD D. HERMAN,

             Defendants.


    DEFENDANT SIONIC MOBILE CORPORATION’S SECOND
  MOTION TO STRIKE AND DISREGARD PLAINTIFF BERKELEY
  VENTURES II, LLC’S REPLY MEMORANDUM IN SUPPORT OF
       ITS MOTION TO ADD PATRICK GAHAN, AND TO
      RESOLVE CERTAIN PROCEDURAL COMPLEXITIES
                INTRODUCED BY PLAINTIFF

      Defendant Sionic Mobile Corporation (“Sionic”) respectfully moves the

Court to strike the new purported “Exhibit V” included as part of the Notice

of Filing Exhibits [Doc. 157] of Plaintiff Berkeley Ventures II, LLC

(“Berkeley”). Berkeley submitted its purported “Exhibit V” in manifest bad

faith and in contravention of its obligations as a litigant in this action.

      On July 16, 2021, Berkeley filed its Reply Memorandum [Doc. 145]

(“Reply Memo”) in support of its Motion to Add Patrick Gahan as a party

defendant to this action [Doc. 136]. Berkeley’s Reply Memo incorporated 88



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pages of documentation in the form of 21 exhibits, explicitly designated A

through U, some of which included confidential information subject to seal. In

response to Berkeley’s Reply Memo, and in reliance upon Berkeley’s

representation that it had filed its Reply Memo correctly, Sionic filed its first

Motion to Strike [Doc. 153] (“First Motion to Strike”), because the Reply

Memo improperly introduced significant new arguments and purported

evidence for the first time on reply.

      Berkeley had, however, made no effort to file its Reply Memo in

accordance with the procedural requirements specified for filing under seal in

the Local Rules, the Court’s Standing Order [Doc. 45] and the Non-Sharing

Protective Order [Doc. 107]. By minute entry and Order dated July 27, 2021

the Court therefore gave Berkeley the opportunity refile its Reply Memo,

giving specific instruction on how to do it correctly. But Berkeley abused the

Court’s largess, when it chose to refile its Reply Memo with a tacked-on,

entirely new purported “Exhibit V,” adding approximately 20 pages of new

emails and documents to the 88 pages previously attempted to include.

      Because it was entirely new, Sionic never had the opportunity to

address or respond to Berkeley’s purported “Exhibit V,” which is not properly

before this Court. Sionic requested more than once that Berkeley withdraw

its new purported “Exhibit V.” Yet, in another instance of Berkeley’s refusal

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to play by the rules, it refused Sionic’s request, forcing the unfortunate

necessity of this second Motion to Strike.

      Because Berkeley’s Reply Memo [Doc. 145] is the same as its redacted

Reply Memo [Doc. 155] and unredacted Reply Memo [Doc. 156], Sionic

requests that the Court hold Sionic’s First Motion to Strike as having been

filed against all three versions of Berkeley’s Reply Memo [Doc. 145, 155, 156].

Further, because of common nexus of subject matters, issues and facts

between Sionic’s First Motion to Strike and this second Motion to Strike,

Sionic requests that the Court hold this second Motion to Strike as

supplementary and further to Sionic’s First Motion to Strike. To that extent,

Sionic incorporates by this reference its First Motion to Strike, including

Brief in Support and Exhibits.

      A Brief in Support of this second Motion to Strike is attached and

incorporated by this reference for the Court’s consideration.

      WHEREFORE, Sionic respectfully moves the Court as follows:

      1.    The Court strike or otherwise disregard and exclude Berkeley’s

            new purported “Exhibit V”;

      2.    The Court issue a prophylactic instruction and order that

            Berkeley comply with the Local Rules, the Court’s Standing

            Order and other Orders and the Georgia Rules of Professional

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     Conduct, and such other and further related relief as the Court

     may deem appropriate and just;

3.   The Court hold Sionic’s First Motion to Strike and this second

     Motion to Strike as being against all three versions of Berkeley’s

     Reply Memo presently pending before the Court [Doc. 145, 155,

     156]; and

4.   The Court hold this second Motion to Strike as supplementary

     and further to Sionic’s First Motion to Strike [Doc. 153 – 153-4].

Respectfully submitted this August 10, 2021.

                             /s/ Simon Jenner
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            CERTIFICATE OF COMPLIANCE AND SERVICE

      I certify that the foregoing has been prepared in accordance with Local

Rule 5.1(C), using Century Schoolbook, 13-point font. I further certify I have

electronically filed on the date stated below, the foregoing DEFENDANT

SIONIC MOBILE CORPORATION’S SECOND MOTION TO STRIKE

AND DISREGARD PLAINTIFF BERKELEY VENTURES II, LLC’S

REPLY MEMORANDUM IN SUPPORT OF ITS MOTION TO ADD

PATRICK GAHAN, AND TO RESOLVE CERTAIN PROCEDURAL

COMPLEXITIES INTRODUCED BY PLAINTIFF with the Clerk of Court

using the CM/ECF system which will automatically send email notification of

such filing to attorneys of record, as follows:

                             Jason Brian Godwin
                             Godwin Law Group
                        3985 Steve Reynolds Boulevard
                                 Building D
                           Norcross, Georgia 30093

      Further served by email, although not attorneys of record:

                              David J. Hungeling
                              Adam S. Rubenfield
                           Hungeling Rubenfield Law
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This August 10, 2021.

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